     Case 2:11-cr-00223-JAD-CWH          Document 166         Filed 01/15/13    Page 1 of 1




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6                                  UNITED STATES DISTRICT COURT
7                                         DISTRICT OF NEVADA
8                                                     ***
9      UNITED STATES OF AMERICA,                           Case No. 2:11-cr-00223-MMD-CWH
10                                            Plaintiff,                    ORDER
11            v.
12     JOSEPH ARENA,
13                                        Defendant.
14

15            At the sentencing hearing held on November 26, 2012, the Court deferred a

16     decision on Defendant Joseph Arena’s objection to the U.S. Probation Office’s

17     recommendation of imposition of restitution, with interest, to allow the government to

18     brief this issue.     The government has filed a response arguing that the Court has

19     discretion to apply both prejudgment and post-judgment interest to the restitution

20     amount. (Dkt. no. 149.)

21            Having       considered   the   government’s      arguments      and   GOOD     CAUSE

22     APPEARING, the Court overrules defendant’s objection and ADOPTS the U.S.

23     Probation Office’s recommendation of imposition of restitution with interest.

24
              DATED THIS 14th day of January 2013.
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                                                     MIRANDA M. DU
27                                                   UNITED STATES DISTRICT JUDGE
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